Case 4:06-cv-00025-RBS-JEB Document 62 Filed 06/13/07 Page 1 of 28 PageID# 21



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF VIRGINIA
                          Newport News Division


CHRISTINE HECKENLAIBLE,

              Plaintiff,

      v.                                              ACTION NO. 4:06cv25

VIRGINIA PENINSULA REGIONAL
JAIL AUTHORITY, and
MICHAEL D. STEELE,

              Defendants.

                      MEMORANDUM OPINION AND ORDER

      Plaintiff Christine Heckenlaible brings this civil action

against Defendant Michael D. Steele (“Steele”) and his former

employer, Defendant Virginia Peninsula Regional Jail Authority

(“the Jail Authority”), seeking to recover monetary relief for

injuries suffered as a result of an allegedly nonconsensual sexual

encounter between her and Steele that occurred at a jail facility

operated by the Jail Authority. This matter comes before the court

on the Jail Authority’s motion for summary judgment.               For the

reasons set forth herein, the Jail Authority’s motion for summary

judgment is DENIED-IN-PART and GRANTED-IN-PART.
Case 4:06-cv-00025-RBS-JEB Document 62 Filed 06/13/07 Page 2 of 28 PageID# 22



                      I.    Factual and Procedural History1

      On April 23, 2001, the Jail Authority hired Steele to work as

a correctional officer at the Virginia Peninsula Regional Jail

(“the       Jail”).      Before    doing    so,   the   Jail     Authority   reviewed

Steele’s employment application, completed a criminal background

check,       conducted      a   personal    interview,     and    checked    Steele’s

personal references.            Steele had no criminal record at that time,

and   none     of     the   information     gathered     by    the   Jail    Authority

indicated that Steele might pose a threat to inmates while working

as a correctional officer.

      Steele completed a three-week orientation program after being

hired.       Once he was assigned to a shift, he received additional

training in the field for several weeks.                 He was subsequently sent

to the Hampton Roads Criminal Justice Academy for an additional ten

weeks of instruction.            In addition, while Steele worked on shifts

at the Jail, supervisors employed by the Jail Authority patrolled

the Jail at random, unannounced intervals and checked that Steele

and   the     other    correctional        officers     were   following     the   Jail

Authority’s policies.             Two of these “spot checks” were conducted

over the course of a correctional officer’s twelve-hour shift.


        1
      In reviewing a motion for summary judgment, this court must
view the facts in the light most favorable to the non-moving party.
Lee v. York County Sch. Div., No. 06-1363, slip. op. at 8 (4th Cir.
May 2, 2007); Seabulk Offshore, Ltd. v. Am. Home Assur. Co., 377
F.3d 408, 418 (4th Cir. 2004); Blankenship v. Virginia, 432 F.
Supp. 2d 607, 611 (E.D. Va. 2006). Thus, the facts are presented
in the light most favorable to Heckenlaible.

                                             2
Case 4:06-cv-00025-RBS-JEB Document 62 Filed 06/13/07 Page 3 of 28 PageID# 23



      On or about January 15, 2004, Heckenlaible was admitted to the

Jail as a pretrial detainee.            Upon her admission, she indicated

that she was under the influence of alcohol and drugs, suffered

from epilepsy, had respiratory problems, and had previously tried

to   harm   herself.      The    Jail    Authority’s   staff   subsequently

determined that she had louse eggs in her hair.          She was placed in

the medical unit of the jail, primarily because of the louse eggs.

      Between 7:00 p.m. on January 20, 2004, and 7:00 a.m. on

January 21, 2004, Steele worked as the sole correctional officer in

the medical unit.       His supervisor conducted two “spot checks”

during the first few hours of his shift, leaving him unsupervised

for the remainder of it.        During the evening of January 20, 2004,

Heckenlaible asked Steele on at least two occasions if she could

take a shower.     At some point that evening, at least one or two

hours after her initial request, Steele escorted her to the shower.

      The Jail Authority encourages inmates in the medical unit to

take showers.     It requires correctional officers to check on the

inmates while they are showering, but prohibits the correctional

officers from “ogling” the inmates.           In this case, Heckenlaible

observed Steele staring at her while she was in the shower.           After

she finished her shower and dried off, Steele took her back to her

cell and then departed.

      Later that same evening, Steele returned to Heckenlaible’s

cell and announced that he would be conducting a cell search.


                                        3
Case 4:06-cv-00025-RBS-JEB Document 62 Filed 06/13/07 Page 4 of 28 PageID# 24



After entering her cell, he sexually assaulted her, forcing her to

perform oral sex on him.         After he left her cell, she cleaned

herself off with a towel, which she then placed under her bed.             She

cried herself to sleep.

      The next morning, on January 21, 2004, Heckenlaible reported

the sexual assault to a member of the Jail Authority’s supervisory

staff, and Steele was placed on administrative leave this same day.

The towel was subsequently recovered, and a forensic analysis of it

verified the presence of semen.           On March 30, 2004, Steele was

terminated for the following two reasons: (1) Steele engaged in

sexual contact with an inmate; and (2) Steele refused to cooperate

in the Jail Authority’s investigation of the incident.            Steele was

eventually convicted for this offense of carnal knowledge of an

inmate, a Class 6 felony under Virginia law, of which consent, or

lack thereof, is not a relevant consideration for conviction.              He

remains incarcerated as of the date of this Memorandum Opinion and

Order.

      As a result of the sexual assault, Heckenlaible is depressed.

Also, her sleep is disturbed, she is scared to leave her home

alone, and she avoids engaging in sexual activity, which has

strained one of her personal relationships.           Her children see her

crying all of the time.

      Prior to January 21, 2004, the Jail Authority had never

received   any   complaints   about   Steele   from    any   of   the   Jail’s


                                      4
Case 4:06-cv-00025-RBS-JEB Document 62 Filed 06/13/07 Page 5 of 28 PageID# 25



inmates.    In addition, it had never before received a complaint

alleging   that   one   of    its   correctional   officers   had   sexually

assaulted an inmate.      The Jail Authority has policies that govern

interactions between correctional officers and inmates, and these

policies were in effect on January 20, 2004.          The Jail Authority,

for   example,    prohibits    correctional   officers   from   physically

abusing any inmate or engaging in consensual or nonconsensual

sexual acts with any inmate.        Also, the Jail Authority has a policy

that in the absence of an emergency situation, a male correctional

officer may not search the cell of a female inmate unless the

officer is accompanied by a female correctional officer.

      On or about January 18, 2006, Heckenlaible filed this action

in the Williamsburg/James City County Circuit Court against Steele

and the Jail Authority. In her complaint, Heckenlaible alleges the

following state law claims against Steele and, on the theory of

respondeat superior, the Jail Authority: (1) assault and battery;

and (2) intentional infliction of emotional distress.               She also

brings state law negligent hiring and negligent retention claims

against the Jail Authority.         In addition, she sets forth a state

law negligence claim against both Steele and the Jail Authority

based on the fact that Steele and the Jail Authority caused Steele

to be the only correctional officer in a ward that housed female

inmates.     Finally, she asserts a claim under 42 U.S.C. § 1983

against Steele, alleging that his actions deprived her of her


                                       5
Case 4:06-cv-00025-RBS-JEB Document 62 Filed 06/13/07 Page 6 of 28 PageID# 26



Fourteenth    Amendment   substantive    due   process   right   to   bodily

security.    See Hall v. Tawney, 621 F.2d 607, 612-13 (4th Cir. 1980)

(discussing the constitutionally protected substantive due process

right to bodily security and noting that “[t]he existence of this

right to ultimate bodily security the most fundamental aspect of

personal privacy is unmistakably established in our constitutional

decisions as an attribute of the ordered liberty that is the

concern of substantive due process”).          Heckenlaible further seeks

punitive damages against Steele, claiming that his conduct was

willful and wanton.

      On February 1, 2006, the Jail Authority removed this action to

this court.     On February 16, 2006, it filed a motion to dismiss

pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure.

On August 3, 2006, this court issued a Memorandum Opinion and Order

denying the motion to dismiss.       See Heckenlaible v. Virginia Reg’l

Peninsula Jail Auth., No. 4:06cv25, 2006 WL 2252026, at *2 (E.D.

Va. Aug. 3, 2006).     On August 29, 2006, the Jail Authority filed a

motion for reconsideration, asking this court to reconsider certain

issues raised in its motion to dismiss.         On November 1, 2006, the

court issued an Order denying the motion for reconsideration.           See

Heckenlaible v. Virginia Reg’l Peninsula Jail Auth., No. 4:06cv25,

2006 WL 3196750, at *1 (E.D. Va. Nov. 1, 2006).

      On May 8, 2007, the Jail Authority filed a motion for summary

judgment, and the court received the Jail Authority’s brief in


                                     6
Case 4:06-cv-00025-RBS-JEB Document 62 Filed 06/13/07 Page 7 of 28 PageID# 27



support of the motion on this same day.              In its brief, the Jail

Authority argues that it is entitled to judgment as a matter of law

on every claim pending against it in this action.                     The court

received Heckenlaible’s memorandum in opposition to the motion for

summary judgment (“memorandum in opposition”) on May 24, 2007.                On

this same date, the Jail Authority filed a motion to strike the

memorandum in opposition, with a supporting brief, and also a reply

brief in support of its motion for summary judgment.                  On May 25,

2007, the Jail Authority withdrew a portion of its motion to

strike, namely, the portion in which it argued that Heckenlaible’s

memorandum exceeded the page limits of the local rules.               On June 7,

2007, the court received Heckenlaible’s late opposition to the

motion to strike.     The matter is now ripe for review.

                            II.    Standard of Review

      “Summary judgment is warranted when the admissible evidence

forecasted by the parties demonstrates that no genuine issue of

material fact exists and that the moving party is entitled to

judgment as a matter of law.”              Toll Bros., Inc. v. Dryvit Sys.,

Inc.,   432   F.3d   564,    568    (4th   Cir.   2005)   (internal    quotation

omitted); see FED . R. CIV . P. 56(c).            To avert summary judgment,

“the non-moving party must present sufficient evidence such that

‘reasonable jurors could find by a preponderance of the evidence’

for the non-movant.”        Sylvia Dev. Corp. v. Calvert County, Md., 48

F.3d 810, 818 (4th Cir. 1995) (quoting Anderson v. Liberty Lobby,


                                           7
Case 4:06-cv-00025-RBS-JEB Document 62 Filed 06/13/07 Page 8 of 28 PageID# 28



Inc., 477 U.S. 242, 252 (1986)).

                              III.   Analysis

A.   Motion to Strike

      In its motion to strike, the Jail Authority correctly notes

that six of the exhibits attached to Heckenlaible’s memorandum in

opposition to the motion for summary judgment are inadmissible

because they constitute hearsay or for other reasons.              Although

Heckenlaible attached these inadmissible exhibits to her memorandum

in opposition, she relied primarily on other evidence in explaining

why it is inappropriate for this court to grant summary judgment in

favor of the Jail Authority.         Accordingly, the court declines to

strike Heckenlaible’s memorandum in opposition in its entirety, and

the Jail Authority’s motion to strike is DENIED.          The court notes,

however, that in determining whether the Jail Authority is entitled

to summary judgment, the court has only considered the “admissible

evidence forecasted by the parties.”       Toll Bros., 432 F.3d at 568.2

B.   Respondeat Superior Liability for Intentional Torts

      In her complaint, Heckenlaible alleges that the Jail Authority

is liable under the theory of respondeat superior for the following

intentional torts that were committed by Steele: (1) assault and


      2
      The court notes that four of the six exhibits in question
were ruled inadmissible at the final pretrial conference on May 22,
2007.    Only one of the other two exhibits is relied on by
Heckenlaible in her memorandum in opposition. For a discussion of
the admissibility and probative value of this exhibit, see infra
note 5.

                                      8
Case 4:06-cv-00025-RBS-JEB Document 62 Filed 06/13/07 Page 9 of 28 PageID# 29



battery; and (2) intentional infliction of emotional distress. The

Jail Authority urges the court to rule as a matter of law that it

cannot be held liable under the theory of respondeat superior.

Heckenlaible, in turn, contends that this is an issue for the jury

to resolve.

      Under the doctrine of respondeat superior, “an employer is

liable for the tortious acts of its employee if the employee was

performing his employer’s business and acting within the scope of

his employment when the tortious acts were committed.”                        Plummer v.

Ctr. Psychiatrists, Ltd., 252 Va. 233, 235, 476 S.E.2d 172, 173

(1996).       By    establishing       the       existence       of    an     employment

relationship, the plaintiff creates a rebuttable presumption of the

employer’s liability.        Gina Chin & Assocs., Inc. v. First Union

Bank, 260 Va. 533, 542, 537 S.E.2d 573, 577 (2000).                    Thus, once the

plaintiff     establishes    the      existence        of   an    employer-employee

relationship,      the   employer     has       the   burden     to   prove    that    the

employee was not acting within the scope of his or her employment

when the tortious act was committed.                  Id. at 542, 537 S.E.2d at

577-78. If the evidence leaves the question in doubt, the issue is

for the jury to resolve.         Id. at 542, 537 S.E.2d at 578.

      The   Supreme      Court   of     Virginia         has     acknowledged         that

determining in any given case whether an employee’s wrongful act

was within the scope of employment has proved “vexatious.”                        Id. at

540-41, 537 S.E.2d at 576-77.               Virginia courts define the term


                                            9
Case 4:06-cv-00025-RBS-JEB Document 62 Filed 06/13/07 Page 10 of 28 PageID# 30



 “scope of employment” as follows:

      Generally, an act is within the scope of the employment
      if (1) it was expressly or impliedly directed by the
      employer, or is naturally incident to the business, and
      (2)   it   was   performed,   although   mistakenly   or
      ill-advisedly, with the intent to further the employer’s
      interest, or from some impulse or emotion that was the
      natural consequence of an attempt to do the employer’s
      business, “and did not arise wholly from some external,
      independent, and personal motive on the part of the
      [employee] to do the act upon his own account.”

 Kensington Assocs. v. West, 234 Va. 430, 432, 362 S.E.2d 900, 901

 (1987) (alteration in original) (citation omitted).           However, “a

 narrow and literal reading of the language in this definition,

 which would create a patent conflict within it, is not to be

 applied as a matter of law to the facts of a particular case.”

 Gina Chin & Assocs., 260 Va. at 541, 537 S.E.2d at 577.                 For

 example, the proper application of the definition “does not resolve

 into a simplistic determination that an employee’s willful and

 wrongful act was not done with the intent to further the employer’s

 interest or to benefit the employer in some way.”         Id. at 542, 537

 S.E.2d at 577.    Also, an employer need not impliedly or expressly

 direct the wrongful act, and a jury issue may exist as to whether

 an employee’s wrongful act occurred within the scope of employment

 notwithstanding the fact that the employee’s act violated an

 employer’s rules or directives.          Id. at 544, 537 S.E.2d at 579.

 Ultimately, the issue for the court to resolve is “‘whether the

 service itself, in which the tortious act was done, was within the

 ordinary course of [the employer’s] business.’”           Id. at 543, 537

                                     10
Case 4:06-cv-00025-RBS-JEB Document 62 Filed 06/13/07 Page 11 of 28 PageID# 31



 S.E.2d at 578 (quoting Davis v. Merrill, 133 Va. 69, 78, 112 S.E.

 628, 631 (1922)); see Blair v. Defender Servs., Inc., 386 F.3d 623,

 627 (4th Cir. 2004) (noting that this is the proper test for

 resolving the scope of employment issue); see also Jones v. Tyson

 Foods, Inc., 378 F. Supp. 2d 705, 713 (E.D. Va. 2004) (explaining

 that “courts must determine whether the activity that gave rise to

 the tortious act was within the scope of employment, i.e. within

 the ordinary course of the employer’s business”).

      In   Blair,     the    Fourth    Circuit       applied    Virginia    law   in

 considering whether the plaintiff, a university student, could hold

 an employer that provided custodial services to the university

 liable under the theory of respondeat superior for a physical

 assault   that     was    committed   by     one    of   its   employees    on   the

 university’s campus.         386 F.3d at 624-26.            The court noted that

 even when the facts were viewed in the light most favorable to the

 plaintiff, it was clear that the physical assault “had nothing to

 do with [the employee’s] performance of janitorial services.”                    Id.

 at 627.   It reasoned that “the simple fact that an employee is at

 a particular location at a specific time as a result of his

 employment    is    not    sufficient       to     impose   respondeat     superior

 liability on the employer.”           Id.    The court, therefore, affirmed

 the district court’s decision to grant judgment as a matter of law

 to the employer on the plaintiff’s respondeat superior claim.                    Id.

 at 628.


                                         11
Case 4:06-cv-00025-RBS-JEB Document 62 Filed 06/13/07 Page 12 of 28 PageID# 32



       Similarly, in Jones, another division of this court applied

 Virginia law in deciding whether an employer could be held liable

 under   the   theory      of    respondeat      superior    for   acts   of   sexual

 harassment committed by a supervisor against an employee.                     378 F.

 Supp. 2d at 713-14. The supervisor allegedly summoned the employee

 to his office, closed the door, asked her on a date, asked to kiss

 her, and also touched her.              Id. at 714.         The court noted that

 although the sexual harassment occurred in the workplace, it did

 not occur while the supervisor was engaged in his workplace duties

 or functions.       Id.     It thus held that the plaintiff could not hold

 the employer liable under the theory of respondeat superior.                     Id.

       Importantly, the circumstances present in Blair and Jones are

 distinguishable from circumstances where an employee’s wrongful

 conduct is “related to the nature of the employment.”                    Blair, 386

 F.3d at 628; see Jones, 378 F. Supp. 2d at 713 (noting that

 respondeat superior liability may be imposed where a supervisor

 commits a wrongful act while “engaged in workplace duties or

 functions”).        For example, in Gulf Underwriters Insurance Co. v.

 KSI Services, Inc., 416 F. Supp. 2d 417 (E.D. Va. 2006), another

 division of this court applied Virginia law in considering whether

 a   bookkeeper      acted      within   the    scope   of   employment    when   she

 embezzled money.       Id. at 423-24.         In answering this question in the

 affirmative, the court reasoned that the bookkeeper could not have

 committed     the    acts      in   question    without     the   “facilities    and


                                           12
Case 4:06-cv-00025-RBS-JEB Document 62 Filed 06/13/07 Page 13 of 28 PageID# 33



 attributes of her office as bookkeeper” and that she had thus “used

 the access and authority inherent in her office to accomplish her

 embezzlement scheme.”     Id.

      As   a   further   example,   in    Plummer,    the   Supreme   Court    of

 Virginia considered whether an employer could be held liable under

 the theory of respondeat superior for the acts of a psychologist

 who allegedly overcame the will of a patient and had a sexual

 encounter with her.      252 Va. at 234-35, 476 S.E.2d at 173.               The

 case was decided on demurrer based on the sufficiency of the

 factual   allegations    set    forth    in   the   plaintiff’s   motion     for

 judgment.     Id. at 234, 476 S.E.2d at 173.               For the following

 reasons, the court concluded that the trial court erred in holding,

 as a matter of law, that the psychologist was acting outside the

 scope of his employment when the tortious act occurred: (1) the

 psychologist’s act was allegedly committed while “he was performing

 his duties as a psychologist in the execution of the services for

 which he was employed, in this instance, counseling and therapy”;

 and (2) the psychologist’s education, experience, and knowledge of

 the plaintiff allegedly enabled him to commit the wrongful act.

 Id. at 237-38, 476 S.E.2d at 174-75.3


      3
       The Jail Authority correctly notes that this case was decided
 based on the sufficiency of the allegations in the plaintiff’s
 motion for judgment, rather than at the summary judgment stage.
 Def.’s Br. in Supp. of Mot. for Summ. J. at 14. Nevertheless, the
 reasoning of the court in Plummer illustrates the principle that
 although an employer may not be held liable under the theory of
 respondeat superior merely because an employee was at a particular

                                         13
Case 4:06-cv-00025-RBS-JEB Document 62 Filed 06/13/07 Page 14 of 28 PageID# 34



      Additionally, the United States District Court for the Western

 District of Virginia applied Virginia law and denied summary

 judgment on the issue of respondeat superior liability where a

 plaintiff alleged the following facts: (1) an employer’s managers

 committed wrongful acts of sexual harassment; (2) these acts may

 have occurred while the managers were performing their employment

 duties; and (3) part of the efficacy of the acts was “derived” from

 their employment duties.      Young v. Sheetz, Inc., 987 F. Supp. 496,

 504 (W.D. Va. 1997).        As a final example, in Doyle-Penne v.

 Muhammad, No. 99-2101, 2000 WL 1086906 (4th Cir. Aug. 4, 2000), the

 Fourth Circuit considered whether a workplace altercation between

 two federal employees occurred within the scope of employment. Id.

 at *1.   The altercation occurred after the plaintiff objected to

 the curt manner in which one of her coworkers transferred a

 telephone call to her.      Id.   An argument ensued and the coworker

 ultimately pinned the plaintiff against the wall and punched her

 repeatedly. Id. In affirming the district court’s conclusion that

 the altercation occurred within the scope of employment, the Fourth

 Circuit reasoned that transferring telephone calls was part of the

 coworker’s job and that the dispute, therefore, arose out of the

 coworker’s performance of her duties.        Id. at *2.



 place at a particular time as a result of his or her employment,
 the employer may be held liable where the employee’s wrongful
 conduct was “related to the nature of the employment.” Blair, 386
 F.3d at 628.

                                     14
Case 4:06-cv-00025-RBS-JEB Document 62 Filed 06/13/07 Page 15 of 28 PageID# 35



      Turning to the facts of the instant case, this court concludes

 that it is distinguishable from cases such as Blair and Jones

 because,   viewing    the     facts    in    the    light    most   favorable     to

 Heckenlaible, this was not a case where a wrongful act occurred in

 the workplace merely because an employee was in a particular

 location at a particular time as a result of his employment.

 Steele’s duties as a correctional officer required him to observe

 inmates in the shower, and the alleged sexual assault occurred

 after he observed Heckenlaible showering and during a “cell search”

 thereafter.        Steele’s       impulse    to    have    sexual   contact   with

 Heckenlaible may well have arisen, at least in part, from the fact

 that he was required to view Heckenlaible while she was unclothed

 in the shower. In light of these circumstances, a reasonable juror

 could   conclude    that    the    alleged    sexual      assault   arose   out   of

 Steele’s performance of his duties.                 See Doyle-Penne, 2000 WL

 1086906, at *1-2 (holding that a physical altercation between

 employees occurred within the scope of employment because it arose

 out of the performance of job duties).

      Moreover, viewing the facts in the light most favorable to

 Heckenlaible, Steele was actively engaged in the performance of his

 job duties, which included supervising Heckenlaible and the other

 inmates in the medical unit, when the wrongful act occurred.

 Steele was supervising Heckenlaible when he accompanied her to the

 shower, looked at her while she showered, and returned her to her


                                         15
Case 4:06-cv-00025-RBS-JEB Document 62 Filed 06/13/07 Page 16 of 28 PageID# 36



 cell afterwards.     In addition, he ultimately entered her cell on

 the pretense of conducting a cell search, and cell searches are

 also among the duties of a correctional officer.          It follows that

 a reasonable juror could conclude that when the wrongful act

 occurred, Steele was engaged in a service, namely, the supervision

 of Heckenlaible, that was within the ordinary course of the Jail

 Authority’s business.     See Gina Chin & Assocs., 260 Va. at 543, 537

 S.E.2d at 578 (explaining that the ultimate issue for the court to

 resolve in determining whether an act was within the scope of

 employment is “‘whether the service itself, in which the tortious

 act was done, was within the ordinary course of such business’”

 (quoting Davis, 133 Va. at 78, 112 S.E. at 631)).            A reasonable

 juror could reach this conclusion notwithstanding the fact that

 Steele violated the Jail Authority’s policies when he had a sexual

 encounter with Heckenlaible.       See id. at 544, 537 S.E.2d at 579.

      Furthermore, the instant case reflects a situation where

 special circumstances related to employment facilitated the alleged

 intentional tort.      Steele could not have reached Heckenlaible

 within the confines of her cell were it not for his employment with

 the Jail Authority.     Also, in announcing that he was entering her

 cell to conduct a search, Steele arguably used the authority of his

 office to accomplish the wrongful act.        Such facts weigh strongly

 against resolving the scope of employment issue, as a matter of

 law, in favor of the Jail Authority.      See Gulf Underwriters, 416 F.


                                     16
Case 4:06-cv-00025-RBS-JEB Document 62 Filed 06/13/07 Page 17 of 28 PageID# 37



 Supp. 2d at 423-24. In sum, having carefully reviewed the relevant

 case law and studied the arguments set forth by the parties, this

 court concludes, for the several reasons discussed above, that

 whether Steele was acting within the scope of his employment when

 he allegedly assaulted Heckenlaible is an issue for the jury to

 resolve.

 C.   Intentional Infliction Of Emotional Distress

      Under    Virginia    law,   a   plaintiff    alleging   a   claim   of

 intentional infliction of emotional distress must establish the

 following elements by clear and convincing evidence: “(1) the

 wrongdoer’s conduct is intentional or reckless; (2) the conduct is

 outrageous and intolerable; (3) the wrongful conduct and the

 emotional distress are causally connected; and (4) the resulting

 distress is severe.”     McDermott v. Reynolds, 260 Va. 98, 101, 530

 S.E.2d 902, 903 (2000).      With respect to the fourth element, the

 Supreme Court of Virginia has explained that emotional distress

 includes “all highly unpleasant mental reactions, such as fright,

 horror, grief, shame, humiliation, embarrassment, anger, chagrin,

 disappointment, worry, and nausea.”          Russo v. White, 241 Va. 23,

 27, 400 S.E.2d 160, 163 (1991).           However, liability arises “only

 when the emotional distress is extreme, and only where the distress

 inflicted is so severe that no reasonable person could be expected

 to endure it.”    Id.

      The Jail Authority argues that Heckenlaible has failed to


                                      17
Case 4:06-cv-00025-RBS-JEB Document 62 Filed 06/13/07 Page 18 of 28 PageID# 38



 establish the fourth element by clear and convincing evidence.           It

 thus contends that even if a genuine issue of fact exists as to

 whether Steele was acting within the scope of his employment when

 he assaulted Heckenlaible, it is entitled to judgment as a matter

 of law on her intentional infliction of emotional distress claim.

 The Jail Authority explains that Heckenlaible’s allegations that

 she is depressed, her sleep is disturbed, and she is scared to go

 out are insufficient to establish severe emotional distress.

      It is undisputed that there was a sexual encounter between

 Heckenlaible and Steele.      The issues that will be the subject of

 dispute at trial are whether this encounter was consensual and

 whether Steele was acting within the scope of his employment when

 the sexual encounter occurred.        To find for Heckenlaible against

 the Jail Authority on her intentional infliction of emotional

 distress claim or her assault and battery claim, the jury would

 have to resolve both of these issues in Heckenlaible’s favor.            If

 the jury were to do so, Heckenlaible could in all likelihood

 recover damages for the emotional injuries suffered as a result of

 the assault and battery, rendering her intentional infliction of

 emotional distress claim superfluous.4 Nevertheless, the fact that


      4
       Under Virginia law, the general rule in tort cases is “that,
 absent proof of physical injury or wanton or willful conduct, there
 can be no recovery of damages for mental anguish, emotional
 distress, or humiliation.” Sea-Land Serv., Inc. v. O’Neal, 224 Va.
 343, 354, 297 S.E.2d 647, 653 (1982). However, in cases involving
 intentional torts, recovery of damages for emotional suffering,
 such as humiliation and embarrassment, is permissible. Id.

                                     18
Case 4:06-cv-00025-RBS-JEB Document 62 Filed 06/13/07 Page 19 of 28 PageID# 39



 an   adequate   remedy    for   emotional    injuries       is   available   to

 Heckenlaible    through   her   assault     and   battery    claim    does   not

 preclude her from simultaneously pursuing an intentional infliction

 of emotional distress claim.      Speight v. Albano Cleaners, Inc., 21

 F. Supp. 2d 560, 565 (E.D. Va. 1998).              Thus, this court must

 address whether Heckenlaible has come forward with sufficient facts

 to establish severe distress.

      In Russo, the Supreme Court of Virginia held that, without

 more, a plaintiff’s allegations that “she was nervous, could not

 sleep, experienced stress and ‘its physical symptoms,’ withdrew

 from activities, and was unable to concentrate at work” were

 insufficient to establish severe emotional distress.                 241 Va. at

 28, 400 S.E.2d at 163.       It explained that the plaintiff had not

 claimed “that she had any objective physical injury caused by the

 stress, that she sought medical attention, that she was confined at

 home or in a hospital, or that she lost income.”             Id.   In light of

 this reasoning of the Supreme Court of Virginia, courts have

 required plaintiffs alleging intentional infliction of emotional

 distress to come forward with some objectively verifiable evidence

 to establish severe distress.       See, e.g., Dixon v. Denny’s, Inc.,

 957 F. Supp. 792, 796 (E.D. Va. 1996) (holding that allegations

 that the defendant’s actions made the plaintiff “fearful and

 degraded, and that she suffered headaches and vomiting as a result

 of his behavior” were insufficient to establish severe distress


                                     19
Case 4:06-cv-00025-RBS-JEB Document 62 Filed 06/13/07 Page 20 of 28 PageID# 40



 because    the    plaintiff     “offered    no   objectively       verifiable

 evidence—such as medical bills or even the testimony of friends or

 family—which     corroborates   her    allegations   of   severe   emotional

 distress”).

        Importantly, as this court explained in the Memorandum Opinion

 and Order of August 3, 2006, Virginia courts have held that the

 victim of a sexual assault “clearly experiences severe emotional

 distress that no reasonable person could be expected to endure.”

 Hygh v. Geneva Enters., Inc., 47 Va. Cir. 569, 575 (1997); see

 Padilla v. Silver Diner, 63 Va. Cir. 50, 55 (2003) (explaining that

 Russo and its progeny dealt with emotional distress claims that

 were not accompanied by physical injury or physical impact); Hazzis

 v. Modjadidi, No. L05-1078, 2005 WL 3462257, at *3 (Va. Cir. Ct.

 Dec. 19, 2005) (“Cases dealing with elements of physical sexual

 harassment are distinguishable from cases like Russo where the

 allegations dealt only with non-tactile torts.”).              Accordingly,

 Heckenlaible’s deposition testimony that she was the victim of a

 sexual assault is sufficient to avoid summary judgment on her

 intentional infliction of emotional distress claim.            She need not

 come   forward    with   objectively    verifiable   evidence      of   severe

 distress, if the jury believes her testimony about the effects of

 an 0intentional sexual assault on her by Steele.

 D.   Negligent Hiring

        The Supreme Court of Virginia has explained the tort of


                                       20
Case 4:06-cv-00025-RBS-JEB Document 62 Filed 06/13/07 Page 21 of 28 PageID# 41



 negligent hiring as follows:

      Liability for negligent hiring is based upon an
      employer’s failure to exercise reasonable care in placing
      an individual with known propensities, or propensities
      that   should  have been     discovered   by   reasonable
      investigation, in an employment position in which, due to
      the circumstances of the employment, it should have been
      foreseeable that the hired individual posed a threat of
      injury to others.

 Interim Pers. of Cent. Va., Inc. v. Messer, 263 Va. 435, 440, 559

 S.E.2d 704, 707 (2002).      It has further explained that “proof of

 the failure to investigate a potential employee’s background is not

 sufficient to establish the employer’s liability.             Rather, the

 plaintiff must show that an employee’s propensity to cause injury

 to others was either known or should have been discovered by

 reasonable investigation.”        Majorana v. Crown Cent. Petroleum

 Corp., 260 Va. 521, 531, 539 S.E.2d 426, 431 (2000) (emphasis

 added).

      In this case, it is undisputed that before hiring Steele, the

 Jail Authority reviewed Steele’s employment application, completed

 a criminal background check, and conducted a personal interview.

 Heckenlaible nevertheless argues that the Jail Authority failed to

 conduct a reasonable investigation.         She explains that the Jail

 Authority neither subjected Steele to psychiatric or psychological

 testing nor made inquires into whether Steele had any proclivities

 for committing sexual assault or sexual abuse before hiring him.

      Importantly, Heckenlaible has not come forward with evidence

 indicating that at the time the Jail Authority hired Steele, his

                                     21
Case 4:06-cv-00025-RBS-JEB Document 62 Filed 06/13/07 Page 22 of 28 PageID# 42



 purported propensity to commit sexual assault was known or should

 have been discovered by reasonable investigation.                There is no

 evidence before the court indicating that Steele was known by

 anyone to have a propensity to commit a sexual assault at the time

 he was hired as a correctional officer by the Jail Authority.

 Moreover, even assuming for the sake of argument that a reasonable

 investigation includes psychological or psychiatric testing, there

 is no evidence indicating that such testing would have revealed

 that Steele would pose a danger to inmates while working at the

 Jail.    Accordingly, the Jail Authority is entitled to judgment as

 a matter of law on the negligent hiring claim.          See Majorana, 260

 Va. at 531, 539 S.E.2d at 431 (explaining that “the plaintiff must

 show that an employee’s propensity to cause injury to others was

 either    known   or   should   have    been   discovered   by    reasonable

 investigation”); see also Se. Apartments Mgmt., Inc. v. Jackman,

 257 Va. 256, 261, 513 S.E.2d 395, 398 (1999) (holding that a

 negligent hiring claim failed as a matter of law because “there are

 no facts that would have put the owner on notice that its hiring of

 [the employee] might reasonably lead to a pre-dawn assault on the

 tenant”).

 E.   Negligent Retention

      The tort of negligent retention is based on the principle that

 an employer is liable for “harm resulting from the employer’s

 negligence in retaining a dangerous employee who the employer knew


                                        22
Case 4:06-cv-00025-RBS-JEB Document 62 Filed 06/13/07 Page 23 of 28 PageID# 43



 or should have known was dangerous and likely to harm [others].”

 Id. at 260-61, 513 S.E.2d at 397.                 In this case, there is no

 evidence indicating that the Jail Authority knew or should have

 known that Steele posed a danger to inmates prior to learning that

 a sexual encounter had occurred between Steele and Heckenlaible.

 For   example,   it   is     undisputed   that    the    Jail   Authority   never

 received any complaints from inmates about Steele. Moreover, it is

 undisputed    that    once    it   learned   of    the   encounter,   the   Jail

 Authority swiftly investigated the matter and took appropriate

 action    against    Steele.       Accordingly,     Heckenlaible’s    negligent

 retention claim must fail as a matter of law.                    See Barrett v.

 Applied Radiant Energy Corp., 240 F.3d 262, 269 (4th Cir. 2001)

 (granting summary judgment for the defendant on the plaintiff’s

 negligent retention claim where the employer had no actual or

 constructive knowledge of the employee’s prior misconduct, and the

 employer took swift action against the employee once the misconduct

 was discovered).5


       5
       Heckenlaible alleges that the Jail Authority should have
 known Steele was dangerous because he pressed a pen point into the
 neck of an inmate and otherwise behaved inappropriately towards the
 inmate on January 14, 2004. This event allegedly occurred in a
 visiting area of the Jail in front of the inmate’s wife. These
 allegations, however, avail Heckenlaible nothing for two reasons.
 First, there is no indication that the inmate reported this event
 directly to the Jail Authority. It appears that the Jail Authority
 became aware of the incident two weeks after it occurred, when the
 inmate filed a criminal complaint against Steele. See Pl.’s Mem.
 in Opp’n to Def.’s Mot. for Summ. J., Ex. 5; see also id., Ex. 4 at
 58-60.    Thus, there is no evidence indicating that the Jail
 Authority was aware of this event on or before January 20, 2004,

                                        23
Case 4:06-cv-00025-RBS-JEB Document 62 Filed 06/13/07 Page 24 of 28 PageID# 44



 F.   Other Negligence

      Heckenlaible also brings a negligence claim against Steele and

 the Jail Authority, alleging that they failed to exercise due care

 in providing for the safety and protection of Heckenlaible.              The

 Jail Authority has construed this claim as asserting liability

 against the Jail Authority not only for its own negligence, but

 also for Steele’s negligence.      See Def.’s Br. in Supp. of Mot. for

 Summ. J. at 10, 18.     As discussed above, this court has concluded

 that a genuine issue of fact exists as to whether                   the Jail

 Authority   may   be   held   liable   under   the   theory   of   respondeat

 superior for the acts of Steele.        See supra Part III.B.       Thus, the

 only issue that remains for the court to resolve with respect to

 Heckenlaible’s negligence claim is whether the Jail Authority can



 the date on which the events that form the basis for this lawsuit
 began to unfurl. Moreover, as there is no evidence indicating that
 the Jail Authority received a complaint directly from the inmate,
 it is entirely unclear how the Jail Authority could have learned of
 the incident before the criminal complaint was filed. Accordingly,
 the circumstances described by Heckenlaible fail, as a matter of
 law, to establish negligent retention. See Barrett, 240 F.3d at
 269.
      Second, Heckenlaible has not forecasted admissible evidence
 that would prove the events in question occurred. She has not, for
 example, come forward with an affidavit from the inmate or anyone
 else with personal knowledge of the events in question.
 Heckenlaible provides a copy of the criminal complaint filed by the
 inmate, but the criminal complaint is hearsay and would not qualify
 as a business record in light of the fact that the inmate prepared
 it. See Rowland v. Am. Gen. Fin., Inc., 340 F.3d 187, 194 (4th
 Cir. 2003) (“To qualify for the business records exception, the
 document must be prepared by someone acting ‘in the course of a
 regularly conducted business activity.’” (quoting FED . R. EVID .
 803(6))).

                                        24
Case 4:06-cv-00025-RBS-JEB Document 62 Filed 06/13/07 Page 25 of 28 PageID# 45



 be held liable for its own actions.

      Under Virginia law, a plaintiff alleging a negligence claim

 has the burden to show “the existence of a legal duty, a breach of

 the duty, and proximate causation resulting in damage.”             Atrium

 Unit Owners Ass’n v. King, 266 Va. 288, 293, 585 S.E.2d 545, 548

 (2003).    Negligence is ordinarily a jury issue.          Artrip v. E.E.

 Berry Equip. Co., 240 Va. 354, 357, 397 S.E.2d 821, 823 (1990).

 “Only when reasonable minds could not differ does the issue become

 one of law to be decided by a court.”      Id.; see Atrium Unit Owners,

 266 Va. at 294, 585 S.E.2d at 548 (explaining that proximate

 causation “is generally a question of fact to be resolved by a

 jury”).

      At this juncture, the court reserves ruling on whether the

 Jail Authority is entitled to judgment as a matter of law on

 Heckenlaible’s negligence claim until after the plaintiff has

 presented her case at the trial.         Thus, the court DENIES summary

 judgment   on   Heckenlaible’s    negligence   claim   against   the   Jail

 Authority.6


      6
       This court agrees with the reasoning in Doe v. Cunningham,
 No. 3:06-cv-00019, 2006 WL 2819600, at *2 (W.D. Va. Sept. 28, 2006)
 (“[T]he majority of men, and the majority of prison guards, are not
 rapists merely waiting for an opportunity to assault a woman”),
 which is cited by the Jail Authority. However, this statement was
 made in the context of addressing whether it was unconstitutional
 to leave a male prison guard alone with a female inmate, not
 whether it was negligent to do so. Id. Moreover, this reasoning
 does not necessarily compel the conclusion that misconduct of a
 sexual nature is not foreseeable when the operator of a prison
 facility assigns a male to be the sole correctional officer in an

                                     25
Case 4:06-cv-00025-RBS-JEB Document 62 Filed 06/13/07 Page 26 of 28 PageID# 46



 G.   Punitive Damages

      The Jail Authority argues that Heckenlaible cannot recover

 punitive damages against it, either for its own actions or for

 those of Steele.     It correctly explains that to recover punitive

 damages against the Jail Authority for its own actions, she must

 show that the Jail Authority committed acts that were willful and

 wanton.   Def.’s Br. in Supp. of Mot. for Summ. J. at 19 (citing

 Woods v. Mendez, 265 Va. 68, 76, 574 S.E.2d 263, 268 (2003)).            It

 also correctly explains that to recover punitive damages against

 the Jail Authority for the acts of Steele, Heckenlaible must show

 that the Jail Authority participated in, authorized, or ratified

 Steele’s conduct.    Id. at 20 (citing Blakely v. Austin-Weston Ctr.

 for Cosmetic Surgery L.L.C., 348 F. Supp. 2d 673, 680 (E.D. Va.

 2004)).

      In her complaint, Heckenlaible states that she is seeking

 punitive damages against Steele, individually, but does not state

 that she is seeking punitive damages against the Jail Authority.

 Moreover, in her opposition to the instant motion for summary

 judgment, she acknowledges that she is not seeking punitive damages

 against the Jail Authority.     See Pl.’s Mem. in Opp’n to Def.’s Mot.

 for Summ. J. at 26.      Furthermore, there is no indication in the


 area that houses female inmates, including some that might be
 particularly vulnerable to a sexual assault or other abuse due to
 mental or physical limitations, and which also requires the
 correctional officer to briefly observe the inmates while they
 shower.

                                     26
Case 4:06-cv-00025-RBS-JEB Document 62 Filed 06/13/07 Page 27 of 28 PageID# 47



 record that the Jail Authority committed willful and wanton acts or

 participated    in,   authorized,    or    ratified   the   wrongful   acts

 purportedly committed by Steele.          Accordingly, the court agrees

 with the Jail Authority that Heckenlaible may not recover punitive

 damages from it in this action.

                              IV.    Conclusion

      For the reasons set forth above, the Jail Authority’s motion

 to strike is DENIED and its motion for summary judgment is GRANTED-

 IN-PART and DENIED-IN-PART.         Heckenlaible’s negligent retention

 claim and her negligent hiring claim are DISMISSED.          The following

 claims remain pending against the Jail Authority on the theory of

 respondeat superior: (1) assault and battery; and (2) intentional

 infliction of emotional distress.         Heckenlaible’s negligence claim

 also remains pending against the Jail Authority.7            The Clerk is

 DIRECTED to send a copy of this Memorandum Opinion and Order to

 counsel for plaintiff and to counsel for defendants.




      7
       Heckenlaible’s state law claims of assault and battery,
 intentional infliction of emotional distress, and negligence remain
 pending against Steele.    Her claim under 42 U.S.C. § 1983 also
 remains pending against him. While she seeks only compensatory
 damages against the Jail Authority, she seeks both compensatory
 damages and punitive damages against Steele.

                                      27
Case 4:06-cv-00025-RBS-JEB Document 62 Filed 06/13/07 Page 28 of 28 PageID# 48



      IT IS SO ORDERED.



                                                      /s/
                                          Rebecca Beach Smith
                                          UNITED STATES DISTRICT JUDGE

 Norfolk, Virginia

 June 13, 2007




                                     28
